

U.S. Bank N.A. v Ecker (2025 NY Slip Op 02517)





U.S. Bank N.A. v Ecker


2025 NY Slip Op 02517


Decided on April 25, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 25, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., MONTOUR, GREENWOOD, NOWAK, AND KEANE, JJ.


802 CA 24-00390

[*1]U.S. BANK NATIONAL ASSOCIATION, AS INDENTURE TRUSTEE FOR CIM TRUST 2016-4, MORTGAGE-BACKED NOTES, SERIES 2016-4, PLAINTIFF-RESPONDENT,
vPATRICK M. ECKER, DEFENDANT-APPELLANT, ROSE I. ECKER, ALSO KNOWN AS ROSE E. ECKER, ET AL., DEFENDANTS. (APPEAL NO. 2.) 






LEGAL ASSISTANCE OF WESTERN NEW YORK, INC., JAMESTOWN (RICK GOODELL OF COUNSEL), FOR DEFENDANT-APPELLANT. 
MCCALLA RAYMER LEIBERT PIERCE, LLC, NEW YORK CITY (HAROLD L. KOFMAN OF COUNSEL), FOR PLAINTIFF-RESPONDENT.


	Appeal from an order of the Supreme Court, Chautauqua County (Grace Marie Hanlon, J.), entered June 14, 2023. The order, inter alia, granted the motion of plaintiff to discontinue the action. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs.
Same memorandum as in U.S. Bank Natl. Assn. v Ecker ([appeal No. 1] — AD3d — [Apr. 25, 2025] [4th Dept 2025]).
Entered: April 25, 2025
Ann Dillon Flynn
Clerk of the Court








